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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Southern District of Florida


 IRA KLEIMAN, as the personal representative of the                   )
            Estate of Dave Kleiman                                    )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 18-cv-80176-BLOOM/Hopkins
                                                                      )
                       CRAIG WRIGHT                                   )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Dr. Craig Steven Wright
                                           7 Oak Road
                                           Cobham KT11 3AZ
                                           United Kingdrom




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Velvel (Devin) Freedman
                                           BOIES SCHILLER FLEXNER LLP
                                           100 SE Second Street, Suite 2800
                                           Miami, FL 33131
                                           1 (305) 539 8400
                                           vfreedman@bsfllp.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




Date:             02/15/2018                                                                           s/ Ledys M. Rodriguez
